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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES -- GENERAL

Case No.       CV 18-5934-MWF(KSx)                                         Dated: September 9, 2019

Title:         Ox Labs, Inc. -v- Bitpay, Inc., et al.

PRESENT:       HONORABLE MICHAEL W. FITZGERALD, UNITED STATES DISTRICT JUDGE

               Rita Sanchez                               Amy Diaz
               Courtroom Deputy                           Court Reporter

ATTORNEYS PRESENT FOR PLAINTIFFS:                       ATTORNEYS PRESENT FOR DEFENDANTS:

               Philip A. Leider                           Benjamin T. Wang
                                                          Lawrence H. Kunin


PROCEEDINGS:                MOTION FOR SUMMARY JUDGMENT [34][35]

         The Courtroom Deputy Clerk issues the Court's tentative ruling, prior to the hearing.

       Case called, and counsel make their appearance. The Court invites counsel to present
their oral arguments. Arguments by counsel are heard. For the reasons stated on the record,
the Court takes the matter under submission. An order will issue.

         IT IS SO ORDERED.




                                                                     Initials of Deputy Clerk rs
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